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                   EXHIBIT J
       Case 3:18-cv-01586-JSC Document 647-21 Filed 01/08/21 Page 2 of 37
IN RE PACIFIC FERTILITY                                                                     FRANKLIN K. MILLER, Ph.D.
 CENTER LITIGATION                                                                                   December 14, 2020
                                                     Page 2                                                             Page 4
 1                 UNITED STATES DISTRICT COURT                1                         I N D E X
 2              NORTHERN DISTRICT OF CALIFORNIA                2
 3                   SAN FRANCISCO DIVISION                    3 EXAMINATION BY:                               PAGE
 4                                                             4     MS. ZEMAN                                    6
 5                                                             5                         ---oOo---
 6                                                             6
   IN RE PACIFIC FERTILITY        )                                                  E X H I B I T S
 7 CENTER LITIGATION,         ) Case No. 3:18-cv-01586-JSC     7
                                  )                              PLAINTIFFS'
 8 __________________________)                                 8 EXHIBIT NO.          DESCRIPTION              PAGE
 9                                                             9      440    December 4, 2020, Rebuttal Report Of
                                                                             Franklin K. Miller, Ph.D.,
10                                                            10           (12 Pages)                             6
11                                                            11      441    December 11, 2020, Rebuttal Report Of
                                                                             Franklin K. Miller, Ph.D.,
12                                                            12           (19 Pages)                            70
13            VIDEOTAPED & VIDEOCONFERENCED DEPOSITION of     13      442    "Nitrogen Adsorption Isotherms For
                                                                             Zeolite And Activated Carbon" Paper
14 FRANKLIN K. MILLER, Ph.D., taken on behalf of Plaintiffs   14             By L.C. Yang, T.D. Vo, And
                                                                           H.H. Burris, (10 Pages)               75
15 remotely beginning at 9:32 a.m., Monday, December 14,      15
                                                                                         ---oOo---
16 2020, before CHERREE P. PETERSON, RPR, CRR, Certified      16
17 Shorthand Reporter No. 11108.                              17
18                                                            18
19                                                            19
20                                                            20
21                                                            21
22                                                            22
23                                                            23
24                                                            24
25                                                            25

                                                     Page 3                                                             Page 5
 1                     A P P E A R A N C E S
                                                               1               DECEMBER 14, 2020
 2
                                                               2                 ---oOo---
 3   FOR THE PLAINTIFFS:
                                                               3         BE IT REMEMBERED that set on Monday, the 14th
 4       GIBBS LAW GROUP LLP
         505 14th Street, Suite 1110                           4   day of December, 2020, commencing at the hour of 9:32
 5       Oakland, California 94162
         BY: AMY M. ZEMAN, ESQ.                                5   a.m., taken remotely before me, Cherree P. Peterson,
 6       (510) 350-9700
                                                               6   RPR, CRR, CSR No. 11108, a Certified Shorthand Reporter,
         amz@classlawgroup.com
 7                                                             7   personally appeared
 8   FOR THE DEFENDANT CHART INDUSTRIES, INC.:                 8             FRANKLIN K. MILLER, Ph.D.,
 9       SWANSON, MARTIN & BELL, LLP                           9   having been called as a witness by the plaintiffs, who
         330 N Wabash, Suite 3300
10       Chicago, Illinois 60611                              10   having been duly sworn by me to tell the truth, the
         BY: JOHN J. DUFFY, ESQ.
11            KEVIN M. RINGEL, ESQ.                           11   whole truth, and nothing but the truth, was thereupon
         (312) 321-9100
12       jduffy@smbtrials.com                                 12   examined and testified as hereinafter set forth.
         kringel@smbtrials.com
13                                                            13                 ---oOo---
14   THE VIDEOGRAPHER:                                        14         THE VIDEOGRAPHER: Good morning, Counsel. My
15       PHILIP KNOWLES                                       15   name is Philip Knowles. I am the host and videographer
16                                                            16   associated with Barkley Court Reporters located at 201
17                                                            17   California Street, Suite 375, in San Francisco,
18                                                            18   California 94111. The date today is Monday, December
19                                                            19   14th, 2020, and the time is approximately 9:33 a.m.
20                                                            20   Pacific Standard Time.
21                                                            21         This deposition is taking place remotely via
22                                                            22   Zoom in the matter of Pacific Fertility Center
23                                                            23   litigation with case number 3:18-CV-01586-JSC. This is
24                                                            24   the videotaped deposition of Dr. Franklin K. Miller
25                                                            25   being taken on behalf of plaintiffs.


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 1        Will counsels for the parties please voice                      1    A. Yes, it does.
 2   identify themselves.                                                 2    Q. Is that a basic concept a trained engineer
 3        MS. ZEMAN: This is Amy Zeman on behalf of the                   3   would understand?
 4   plaintiffs.                                                          4    A. Yes, it is.
 5        MR. DUFFY: John Duffy on behalf of Chart.                       5    Q. Do you need to do any testing to know that
 6        MR. RINGEL: Kevin Ringel also for Chart.                        6   metal contracts when it is cooled?
 7        THE VIDEOGRAPHER: Thank you. The court                          7    A. You -- well, it's a bit complicated. You would
 8   reporter may now answer in the witness and make a                    8   -- someone has to do testing to know how much metal
 9   statement for the record.                                            9   contracts. There are tables of values for equations
10        THE REPORTER: Raise your right hand, please,                   10   that are used to describe the quantity or the amount
11   Doctor.                                                             11   that metal contracts when it changes temperature. So --
12        (Whereupon the witness was placed under oath.)                 12    Q. You mean -- go ahead.
13        THE REPORTER: Thank you.                                       13    A. So if you want to know that metal contracts,
14             EXAMINATION BY MS. ZEMAN                                  14   no, you don't have to know -- do a -- do a test. But
15     Q. Good morning, Dr. Miller. Good to see you                      15   there are some materials that contract and expand as
16    again. Thank you for joining us.                                   16   they go down in temperature, as I have direct experience
17     A. Good morning.                                                  17   with that. Some materials get shorter and then when
18     Q. I will try not to take up too much time of your                18   they get to a certain temperature they start getting
19    day today, but I do have a few questions about the two             19   longer again. But that's not specifically metal.
20    reports you've put in since we spoke last.                         20        So you could know it would contract, but you
21          For starters, I would like the Exhibit 440 to                21   couldn't quantify how much unless you have test data
22    be entered and made available to you. That will be your            22   from someone or from a handbook from tables. And that
23    rebuttal report dated December 4th of 2020.                        23   contraction is a function of the temperature.
24          (Plaintiffs' Exhibit 440 marked for                          24        Metal does not contract the same amount at room
25           identification.)                                            25   temperature per degree of temperature change as it


                                                                Page 7                                                             Page 9

 1         MS. ZEMAN: Philip, are you going to?                           1   contracts at low temperature per degree per temperature
 2         THE VIDEOGRAPHER: Yeah. Amy, what I did with                   2   change. So that's a temperature-dependent material
 3    Dena last week was I made it, and then I saved it, and              3   property.
 4    then I sent it back into the chat, and then I screen                4    Q. Dr. Miller, does metal expand when it is
 5    shared. Would you like me to do the same thing?                     5   warmed?
 6         MS. ZEMAN: All but the screen share.                           6    A. Yes, it does.
 7         THE VIDEOGRAPHER: Okay. And you know what,                     7    Q. Is that a basic concept a trained engineer
 8    that makes sense. I didn't screen share for Dena. So                8   would understand?
 9    sorry, guys. It just takes a second to save it. And                 9    A. Yes, it is.
10    sorry for all the unnecessary commentary, Cherree.                 10    Q. If the metal at a joint expands or contracts do
11    Okay. Exhibit 440 is available for download.                       11   basic engineering principles dictate that the joint will
12     Q. BY MS. ZEMAN: Dr. Miller, if you could                         12   experience stress?
13    download that and take a look at it and let me know if             13    A. Actually, no, the joint will not experience
14    you recognize the document.                                        14   stress if the temperature changes at a joint. If the
15     A. Yes, I recognize the document.                                 15   entire joint changes temperature uniformly at the same
16     Q. Okay. And what is this?                                        16   time, there will be a change in the dimension of the
17     A. This is my December 4th rebuttal report.                       17   material but no stress as a result of that change.
18     Q. Okay. Great. And I don't think I have a                        18    Q. And that example that you just described, that
19    question on it directly right away. But if at any point            19   would be if all of the parts at the joint are free to
20    during my questions if you want to refer to that, you              20   expand; correct?
21    are welcome to do so. And there will be times when I do            21    A. It has nothing to do with free to expand. If I
22    refer to specific references in that report.                       22   take a piece of metal and I uniformly change its
23     A. Okay.                                                          23   temperature from room temperature to cryogenic
24     Q. Dr. Miller, does metal contract when it is                     24   temperature and do it in a manner that there's no
25    cooled?                                                            25   appreciable difference in temperature between one part


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 1   of that and another, there will be no stress induced,
 2   thermally induced stress in that part.
 3    Q. Does that apply if there are different types of
 4   metal involved in the joint?
 5    A. If there are different types of metal involved
 6   in some buildup -- when you say by joint, if something
 7   is welded then it's relatively uniform in composition.
 8   There are rare cases where we do weld copper to
 9   stainless steel, those kind of joints. Those are very
10   rare though.
11        But generally speaking if you have a welded
12   part, that joint is uniform -- relatively uniform
13   composition. In -- we often do calculations in
14   cryogenics where we have stack ups of parts when we go
15   cold. For instance, we may have copper or brass flanges
16   bolted together by stainless steel screws. And when we
17   go cold, we like to assure that they're getting tighter,
18   not looser. And in that case one material contracts at
19   a different rate than another one. And often what we'll
20   do is use brass screws with copper flanges because their
21   coefficients of thermal expansion are very similar
22   versus something like stainless steel.
23        And then there are ways to compensate that we
24   -- and part of cryogenic design is to use Invar washers,
25   Bellville washers that are spring washers to take up


                                                          Page 11

 1   that slack.
 2        So yes, you can have changes in dimensions with
 3   the same temperature, but that's because the composition
 4   of the material is significantly different and has a
 5   different material property behavior.
 6




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                                                                    1   the bottom of the tube would not be at liquid nitrogen
                                                                    2   temperature.
                                                                    3        But if the tank was operating in its normal
                                                                    4   operating manner with liquid nitrogen, then the bottom
                                                                    5   end of the tube at the liquid level, however far the
                                                                    6   liquid level is in the tank, that would be at liquid
                                                                    7   nitrogen temperature. And the place where the tube goes
                                                                    8   through the wall, the top would be near room
                                                                    9   temperature.
                                                                   10        Those are just -- they're assumptions because I
                                                                   11   didn't measure them every day. But that -- those are
                                                                   12   very reasonable -- it's a reasonable assessment of the
                                                                   13   condition, the boundary conditions for the tank when it
                                                                   14   was getting ready to fill.
                                                                   15    Q. What's room temperature in the PFC lab where
                                                                   16   Tank 4 was kept for six years?
                                                                   17    A. I cannot know that exactly. But that -- if
                                                                   18   there was a slight difference in the room temperature,
                                                                   19   it would have a minimal effect on the calculation.
                                                                   20    Q. But your calculation is based on assumptions
                                                                   21   about the temperature, not the actual temperature that
                                                                   22   the Tank 4 fill line was subjected to; correct?
                                                                   23    A. For the cold-end temperature, it's pretty much
                                                                   24   absolute dead on. For the warm-end temperature it's
                                                                   25   within 5 degrees C unless they are running their lab at


                                                                                                                           Page 17

                                                                    1   a very uncomfortable temperature for workers.
 2    Q. Both your upper bound and your lower bound are             2    Q. Are your upper and lower bounds based on actual
 3   estimates; correct?                                            3   temperature measurements of Tank 4 in use?
 4    A. I don't know that I would call them an                     4    A. Obviously not because I was -- nor was anyone
 5   estimate. How can I put this? An estimate would often          5   -- the temperature of a room can change by a few degrees
 6   have an error or a possible error that goes above and          6   over the course of a day, over the course of weeks. But
 7   below.                                                         7   the temperature of the room would be some number that's
 8         In this case what I've done is the actual                8   within the range -- within a small range of the number
 9   temperature profile in the tube falls somewhere in             9   I've used.
10   between these two extremes. And so what I've done is          10
11   set an upper limit and a lower limit on the possible
12   length change. So it's -- it's they're limiting --
13   they're limits. They're upper and lower limits. The
14   actual contraction falls between these two limits.
15    Q. But you've established some assumptions and
16   then calculated out what you considered to be the upper
17   and lower bounds. And those are not the actual values
18   for Tank 4 in operation; correct?
19    A. That is not correct. The tank, Tank 4 -- now,
20   I have to assume that Tank 4 was operating in a
21   condition where it had liquid nitrogen inside the tank,
22   and then I have to assume that the -- it's in a room
23   that's near room temperature. So there are assumptions
24   from that perspective that, you know, if the tank was
25   filled with something besides liquid nitrogen, then no,


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                                                10    Q. What is the warmest the insulation would be in
                                                11   those circumstances?
                                                12    A. Which point? Where on the insulation?
                                                13    Q. The warmest point.
                                                14    A. I've done analysis for -- you'd have to take
                                                15   every particular liquid level of the tank. And it would
                                                16   be different for every one if you want a 3D temperature
                                                17   profile of the insulation layers. You have to model it
                                                18   using a Monte Carlo technique, which is what we did at
                                                19   NASA, and you can -- you can get a temperature of the --
                                                20   of the individual layers. You include residual gas
                                                21   conduction, all these things.
                                                22        But there's no way I can give you a temperature
                                                23   of the insulation. The easy answer I guess is if you go
                                                24   to the very top of the tank where the insulation touches
                                                25   the outer wall at the very top of the neck, it will be


                                                                                                         Page 25

                                                 1   basically room temperature. But that is -- that's just
                                                 2   -- that's a -- not a very useful answer, I guess.
                                                 3          So asking for a single number is not a useful
                                                 4   answer for thermal purposes. The inner layer where the
                                                 5   liquid nitrogen is, is very cold, almost liquid nitrogen
                                                 6   temperature. And each successive layer as you go out
                                                 7   gets warmer. It's not linear though. The outer layer
                                                 8   will be a lot closer to room temperature. And then 30
                                                 9   layers -- I cannot -- there isn't a good answer for
                                                10   that.
                                                11    Q. Over the course of -- oh, I'm sorry. Are you
                                                12   done?
                                                13    A. Go ahead. Yeah, it's a complicated
                                                14   three-dimensional problem. And the temperature of the
                                                15   outer layer of the MLI or the multilayer insulation is
                                                16   irrelevant to what the temperature of the tube is
                                                17   inside.
                                                18    Q. Over the course of an MVE 808's lifetime is the
                                                19   fill line subjected to different temperatures?
                                                20    A. Yes. My analysis is based on that fact.
                                                21




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                                                                     1   negligibly small changes.
                                                                     2    Q. And so those small changes in the liquid level
                                                                     3   would be also making small changes to the thermal
                                                                     4   profile of the fill line; correct?
                                                                     5    A. Incredibly small. Because the -- any
                                                                     6   significant change would come from a fill event. The
                                                                     7   liquid level only changes appreciably during a fill
                                                                     8   event because you can't create or take away liquid
                                                                     9   quickly. So liquid boils off slowly. That's part of
                                                                    10   the cycle; right? Liquid level goes down. That's part
                                                                    11   of the cycle. And then you replace it. And that's a
                                                                    12   cycle. That's one full cycle. One full thermal cycle.
                                                                    13         So, you know, any small changes are going to be
                                                                    14   incredibly tiny compared to -- the fill event is the
                                                                    15   event that's the game changer here because the
                                                                    16   temperature profile changes in the tube when it's
                                                                    17   sitting there are incredibly small compared to the
                                                                    18   temperature profile change when you shock this thing
                                                                    19   with liquid nitrogen.
                                                                    20         You bring in a fill of liquid nitrogen, the
                                                                    21   entire length of the tube goes from being this
                                                                    22   temperature profile. It shrinks by 23,000ths. And
                                                                    23   that's what goes into the analysis because that's the
                                                                    24   event that brings about the thermal length change we're
                                                                    25   talking about, not little tiny changes in the liquid


                                                                                                                                Page 29

                                                                     1   level.
 2    Q. And in a tank in normal usage in an IVF lab,                2          Because there's not enough of the tube involved
 3   the portions of the fill line with and without liquid           3   to cause major length change like there is in these fill
 4   nitrogen present versus with gaseous nitrogen present           4   events. The fill events are 23,000ths in length change.
 5   would change constantly; correct?                               5    Q. Liquid nitrogen is constantly evaporating out
 6    A. Can you restate the question?                               6   of an MVE 808 that's in use; correct?
 7    Q. In an MVE 808 that's in use in an IVF lab, so               7    A. Yes.
 8   being used to store samples with liquid nitrogen present        8    Q. And the rate of evaporation may vary, but it's
 9   and being replenished regularly, would the portion of           9   always burning off at some level; correct?
10   the fill line with and without liquid nitrogen present         10    A. Yes, it is.
11   be in constant flux?                                           11    Q. When the lid is removed and the tank contents
12    A. Okay. I think I understand what you're saying.             12   are disturbed, the liquid nitrogen will evaporate
13   So if samples were inserted and samples taken out, there       13   faster; correct?
14   would be some small change in the liquid level. Okay?          14    A. Yes. The evaporation rate is dependent upon if
15   But not very much. And then when the tank is filled --         15   the lid's on or off.
16   so if it was at 11 inches and then it was filled to 14         16    Q. And based on your testimony within the last few
17   inches, yes, the level in that tube would change. And          17   minutes, it sounds like you did not calculate for all of
18   so it would -- a longer portion of the tube would then         18   the fluctuations for the entire life span of Tank 4's
19   be cold.                                                       19   fill line; correct?
20         However, there's only -- it doesn't                      20    A. The change -- so the fill event, the thing
21   significantly change the assumptions. If the level is          21   that's a fill event. You consider a cycle for a fill
22   now at 14 inches, less of the tube is subjected to             22   event -- includes liquid nitrogen. So if it's at 14
23   thermal change. So yeah. So there would be small               23   inches, level goes down to 11 inches, and then there's a
24   changes in the liquid level. I'm not saying there's            24   fill event. Okay? Then let's say some number of days
25   not. But with respect to what I've done here, those are        25   later liquid level goes down again, there's a fill


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 1   event. That's all included in the analysis.
 2    Q. But you didn't calculate the individual
 3   temperature changes throughout that change from 14
 4   inches to 11 inches; correct?
 5    A. I did not calculate the temperature profile for
 6   each individual case, but I did calculate the worst-case
 7   temperature profile such that in the normal operation
 8   the temperature profile would be the warmest that it
 9   would be, and then you would cool it to the coldest it's
10   going to be. So the excursions would be the maximum for
11   a normal operating condition for a fill.
12        So I didn't -- I didn't have to calculate every
13   individual temperature profile because I calculated the
14   one that is -- where the temperature over the length of
15   the tube going from 11 to room temp -- 11 inches up to
16   room temperature is the worst that it would be. And
17   then it gets cold -- or the warmest it would be in
18   profile. It gets shocked or basically the liquid comes
19   in and it goes to the coldest it can be, which is the
20   liquid nitrogen temperature. And so that excursion in
21   length is the largest one you will see. Those changes
22   in length are the largest that you would see. Because
23   you want to look for the largest length change if you're
24   looking for cyclical failure.
25    Q. The fill tube line is 26 inches long; correct?


                                                         Page 31

 1   A. The fill tube is approximately 26 inches long.
 2




                                                                    7   "fatigue lifetime." And this is again your March -- I'm
                                                                    8   sorry -- your December 4th report. Can you tell me what
                                                                    9   you mean by "fatigue lifetime"? And it's in the last
                                                                   10   paragraph just before section --
                                                                   11    A. Yeah. Yeah. I -- this is -- this is -- the
                                                                   12   fatigue lifetime would mean the number of -- so, you
                                                                   13   know, Mr. Parrington's going to do -- be the person who
                                                                   14   really delves into this because this isn't my -- you
                                                                   15   know, I know how to do the thermal analysis, the length
                                                                   16   change analysis. I even know how to do stress analysis.
                                                                   17   But I'm not a fatigue person. It's not what I do. It's
                                                                   18   not my expertise. So this is information that I got.
                                                                   19   Basically it's in conjunction with ESi and Mr.
                                                                   20   Parrington.
                                                                   21         I did provide the data from -- or the
                                                                   22   references that give the fatigue strength, basically the
                                                                   23   strain versus number of cycles to them. And I do know
                                                                   24   from what I saw back on the peak strain values that it's
                                                                   25   well below the number that allows you to have at least


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 1   10,000 cycles. So it's well past that. It's less than            1   through a calculation of your own?
 2   a third of that value.                                           2    A. Yes. Just by multiplying the number of days
 3         And so that's what I'm saying is the results               3   times at most one cycle per day. So it's an
 4   that come from Parrington and ESi say that this is --            4   approximation. Go back through the data and show that
 5   the cycle time would be -- the cycle life at these               5   it's less than that.
 6   extreme strains, meaning going from the initial                  6    Q. So you think that Tank 4 actually had less than
 7   condition of the profiling the tank and considering that         7   2200 fills?
 8   the liquid level's at 11 inches and considering that you         8    A. It may have.
 9   go all the way to nitrogen temperature, that is the              9    Q. Did you analyze the controller data to see how
10   cyclical load, the thermal cyclical load. That's the            10   many times a fill was initiated on Tank 4?
11   cyclical load that happens with this tank. And if you           11    A. I didn't count them up.
12   even have that, you know, cyclical load, the tank that          12    Q. Did you analyze the controller data in any way
13   -- the failure, the fatigue lifetime is past the 10,000         13   to see how many times a fill was initiated on Tank 4?
14   that the graph goes to. It's beyond that.                       14    A. I didn't specifically analyze it for number of
15         But the details of that analysis are going to             15   fills.
16   be Ron Parrington's to deal with because I didn't do the        16    Q. When you receive a cryogenic tank you purchase
17   fatigue analysis. I'm just reporting based on this              17   from a vendor, do you examine the welds?
18   result from his analysis.                                       18    A. No. No. I actually usually don't. I do a
19    Q. So this last paragraph before Section B on page             19   leak test on it however.
20   3, does that paragraph contain your opinions or Mr.             20    Q. Is that every single tank you obtain?
21   Parrington's?                                                   21    A. Yes. I'm working in a research environment.
22    A. It contains my opinions relevant to what this               22   So yes, we do a leak test on it. I've done it.
23   means as far as the number of cycles. But it is based           23    Q. So every time you obtain a new cryogenic tank,
24   on the results of the outcome of Parrington's analysis.         24   you do a leak test on it before using it?
25   I did not do the analysis.                                      25    A. Let me -- let me say yes for the research


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 1    Q. Do you intend to testify before a jury that the              1   dewars. For service dewars, no. No. If we have a --
 2   fatigue lifetime of the fill port fitting to inner wall          2   you know, a liquid nitrogen dewar that we use for, you
 3   weld is in excess of 10,000 cycles?                              3   know, transporting liquid from one place to another, no,
 4    A. I intend to testify that I passed the results                4   we don't check those. They're kind of off-the-shelf
 5   of my thermal analysis to Ron Parrington, and the                5   items. But for the dewars that I use in-house, yes, I
 6   results he gave back indicate that this is true because          6   check them. The ones for experiments.
 7   that's the actual truth of how this went. I did the              7        MR. DUFFY: We've been going for about an hour,
 8   thermal analysis. I knew what the boundary conditions            8   Amy. Do you want to just take a five-minute break?
 9   were. I passed that off to the thermal analysts -- I             9        MS. ZEMAN: That sounds good.
10   mean, excuse me, the stress -- the FEA people. And they         10        MR. DUFFY: Thank you.
11   did the results and got the results back. So that's the         11        THE VIDEOGRAPHER: We are now going off the
12   extent of what I'll say about that.                             12   record at 10:33 a.m. Pacific Standard Time.
13    Q. Do you intend to testify before a jury that                 13        (Whereupon a break was taken from 10:33 to
14   during the six years that Tank 4 was in service it was          14         10:45.)
15   subjected to approximately 2200 fill line thermal               15        THE VIDEOGRAPHER: Okay. We are now going back
16   cycles?                                                         16   on the record. And the time is 10:45 a.m. Pacific
17    A. That is an approximate number. And yes, I'll                17   Standard Time.
18   -- yes. It's approximate.                                       18
19    Q. What's your basis for that opinion?
20    A. That would be if it's filled once every other
21   day. Actually, that's once a day. Yeah, that's once
22   per day. And I don't think it actually was filled once
23   per day if you go back and look at the logs. It's not
24   filled once per day.
25    Q. Did you determine 2200 approximate fills


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                                               23    Q. Do all of the tanks you work with outside of
                                               24   this litigation break down so that you can see the welds
                                               25   on the vacuum side?


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                                                1    A. Not all of them. But the one I'm thinking of
                                                2   that isn't, it's closed out with a final weld where the
                                                3   inner chamber is welded to the outer chamber. There
                                                4   isn't a fill line on it -- that kind of fill line. So
                                                5   the only way to close that out is to put a single-sided
                                                6   weld on it. You can't weld the inside and the outside
                                                7   after that.
                                                8         So and the same is true for Chart. Some of
                                                9   their welds, even if they wanted to do -- let's say they
                                               10   decided they wanted to do double-side welds. For the
                                               11   welds that put the tank together, there's no way to do
                                               12   double-sided welds. You can't do them because you put
                                               13   the tank together and then you seal it up. So yeah.
                                               14         So I've been thinking of the tank that I have
                                               15   for liquid nitrogen and liquid helium. That one is
                                               16   closed out with a final weld at the top. That has to be
                                               17   a single-sided weld. But have I verified every weld in
                                               18   the thing? I do know that in the industry this is the
                                               19   standard. Single-sided welds are the standard.
                                               20         If you go to really large equipment like you
                                               21   have at Fermilab, things like that, accelerators where
                                               22   you have these high magnetic forces on components -- you
                                               23   know, you have superconducting magnets that are enclosed
                                               24   in, you know, liquid helium, super fluid liquid helium.
                                               25   Some of those things have these skip welds on them


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 1   because they're buttressing because they have very, very           1   it's in that text or not because that's a cryogenic heat
 2   high magnetic forces on them.                                      2   transfer text, not a general cryogenic engineering text.
 3         But in the kind of tanks we're talking about, I              3    Q. Did you ask if anyone at Chart has tested a
 4   haven't seen two-sided welds.                                      4   two-sided vacuum weld?
 5    Q. Aside from any analysis done by Dr. Kasbekar in                5    A. No, I didn't specifically ask them that
 6   this litigation, are you aware of any testing having               6   question.
 7   been done on the two-sided vacuum welds?                           7    Q. Have you reviewed any presale design acceptance
 8    A. I am aware of the skip welds used in the -- in                 8   testing and validation of the single-sided weld used on
 9   the Fermilab experiments. I don't know of particular               9   the MVE 808?
10   testing, though, of double-sided welds.                           10    A. No.
11    Q. Have you searched for any such testing?                       11    Q. Are you aware of any such testing and
12    A. Well, I did -- I did do some searching because                12   validation having been completed?
13   I knew about the -- their -- you know, the large                  13    A. No. But there's a long history of field use
14   equipment has -- you know, how do you weld on support             14   with these welds. So.... I think that this design
15   things with welds on each side? So I knew about that.             15   happened quite a while ago, and there's a long history
16         But I didn't run across any in my -- in my                  16   of these tanks being in the field with successful use
17   search, but I don't know 100 percent that there's not --          17   with a single-side weld.
18   you know, there could be somebody analyzed this and did           18    Q. Do you recall at your prior deposition
19   tests or whatever. I don't know.                                  19   referring to a tank manufactured by Janis that you were
20         But I do know in cryogenics classes when                    20   or are currently using or about to use?
21   learning this stuff in grad school one of the things              21    A. Yes. This was the tank that I said -- I think
22   we're taught is don't use double-sided welds. There's             22   I said -- I thought it was Janis. I don't know 100
23   explanation why -- how to design weld preps or for these          23   percent for sure. But I think it's a Janis tank.
24   seal welds as is -- you know, an example is the -- is             24    Q. Is that tank capable of being dismantled?
25   the MVE fitting that's machined down so that the two              25    A. No. That's the one I just talked about that


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 1   thicknesses are nearly similar.                                    1   has the closeout weld on the top.
 2         So when I was in graduate school I designed all              2    Q. And it does not have a fill line?
 3   single-sided welds with weld preps, went to a lot of               3    A. It does not have a -- it does not have a fill
 4   trouble to machine those pieces in a way that there                4   line that penetrates into the inside space. It has some
 5   would be a similar thickness between them is part of               5   tubes that penetrate through -- there's a quick cooldown
 6   what I was taught and did.                                         6   coil on it, but it doesn't have a tube that goes into
 7    Q. Are you saying you were specifically instructed                7   the inner space, no. It has a tube penetration through
 8   to not use double-sided welds on vacuum vessels?                   8   the top that goes and there's a coil that wraps around
 9    A. Yes. By my Ph.D. advisor and my co-advisor.                    9   the tank, the inner tank, that you can use for --
10   Yes.                                                              10    Q. Does that tube connect to the inner vessel?
11    Q. Were those verbal instructions?                               11   Does that tube connect to the inner vessel?
12    A. Yes. And this is what's taught in, you know,                  12    A. Not in the sense that it brings liquid into the
13   cryogenics class. Yeah.                                           13   inner vessel. It's -- there's a tube wrapped around the
14    Q. Specifically people are told do not use                       14   inner vessel that you can use if you're going to cool
15   double-sided welds on vacuum --                                   15   down to liquid helium temperature, you can run liquid
16    A. Because of the potential of virtual leaks.                    16   nitrogen through that first to cool it down. But it
17    Q. Do you have any literature about that?                        17   doesn't have a manual fill line as you would call it.
18    A. It is probably in some of the cryogenics texts                18   It's an annular heat exchanger is what it is.
19   that I have.                                                      19    Q. But at some point does it attach to the inner
20    Q. Is it in any of the literature that you relied                20   vessel?
21   on for your reports?                                              21    A. Physically, yes. Not on a fluid connection.
22    A. It may be in the cryogenics texts that I relied               22    Q. It doesn't have an opening into the inner
23   on for the latest report, the second rebuttal report.             23   vessel; correct?
24   But I didn't cite that particular -- I'm not sure if              24    A. Yes.
25   it's in that text or not. I'll have -- I'm not sure               25    Q. Could water pass through a breach between two


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 1   cold spaces if one space was at a slightly higher                1   it will flash and become vapor. But relieve and the
 2   pressure than the other space?                                   2   other word, that doesn't -- that doesn't work. Those
 3    A. I'm not sure what you -- how water relates to                3   don't work.
 4   this. Water would be in solid form in this particular            4    Q. But to reduce the pressure is an accurate
 5   case.                                                            5   concept?
 6    Q. That wasn't my question to this specific case                6    A. No, not to reduce the pressure. It's because
 7   or to Tank 4 to liquid nitrogen. The question stands as          7   of the reduced pressure. Yeah.
 8   phrased.                                                         8    Q. Okay. Thanks. In your opinion Tank 4 deformed
 9    A. Could water pass through an opening from one                 9   because the sieve material released nitrogen it had
10   space to another if there's a pressure difference? Is           10   previously absorbed; correct?
11   that the question?                                              11    A. That is correct.
12    Q. Correct.                                                    12    Q. And in other words, the sieve off-gassed
13    A. Yes. That's what drives the flow is pressure                13   nitrogen and pressurized the vacuum space?
14   difference.                                                     14    A. Yes. As it warmed.
15    Q. Could liquid nitrogen pass through a breach                 15    Q. As the pressure increased in the vacuum space
16   between two cold spaces if one space was at a slightly          16   as the sieve off-gassed, would the sieve had reabsorbed
17   higher pressure than the other?                                 17   some of the nitrogen?
18    A. Of course it could. What's really going to be               18    A. So the -- really wouldn't work quite that way.
19   -- this is a different situation from water though. And         19   There's an equilibrium that occurs between -- as the
20   when you ask the water question, it really depends on           20   temperature rises there's an equilibrium that occurs
21   what the temperature is and what the pressure is.               21   which involves pressure, temperature to the pressure
22         If you're getting at could liquid nitrogen pass           22   over the getter or the vapor pressure over the top of
23   through and go into the vacuum space, it could. But it          23   the getter, and the temperature related to one another.
24   would be a vapor when it got to the other side to the           24        As that getter gets to 300 -- or, you know, up
25   lower pressure.                                                 25   near room temperature, there's very little gas that can


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 1    Q. Did you say that it would be a vapor when it                 1   remain inside the getter. There's a little bit, but
 2   got to the other side to relieve the pressure?                   2   very little nitrogen gas will stay inside the getter at
 3    A. No. That's not what I said.                                  3   that point. So I don't know that it really reabsorbs.
 4    Q. Okay. My question is what did you say then?                  4   It's just there would be a little bit of gas that would
 5   I'm just trying to make sure I understood you correctly.         5   not come out of the getter, a minimal amount. Very few
 6    A. The liquid would go -- when it -- in the                     6   of those little binding sites inside the liquid
 7   process of going from the high pressure to the low               7   nitrogen -- excuse me -- inside the getter would retain
 8   pressure, it would vaporize.                                     8   nitrogen atoms -- or molecules, actually. Molecules.
 9    Q. Let me try again. I -- really, I honestly want               9   So yeah, it's not really that it reabsorbs it. It just
10   to know what the word was because it wasn't picked up in        10   reaches an equilibrium. An equilibrium.
11   the transcript. So I think you said something like, but         11
12   it would be a vapor when it got to the other side to
13   something the pressure. What's the word that you used?
14    A. I'm not sure.
15    Q. It might have been relieve? Does that sound
16   right?
17    A. No, not relieve the pressure.
18    Q. Or to release?
19    A. No.
20    Q. Okay.
21    A. Because no, neither of those two words make
22   sense. Because of the reduced pressure? I don't know.
23    Q. Okay.
24    A. That actually makes sense. Because of the
25   reduced pressure. Because there's reduced pressure so


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 1   So I -- it really depends.                                      1   materials that you've had firsthand experience
 2    Q. What is the extremely valuable material that                2   overseeing this cryogenic storage of.
 3   you have firsthand experience overseeing the storage of?        3    A. I think those are the most valuable ones. And
 4    A. Yeah, once again extremely valuable depends on              4   by storage, I mean, it's not storage in the sense that
 5   your -- but I had materials in dewars. And I don't know         5   it's sitting there actively doing nothing. But it's,
 6   that it was storage, but it was testing at low                  6   you know, cold temperature for weeks and we need to
 7   temperature. And a failure of that dewar could have             7   maintain it. So it's more than storage. It's not just,
 8   destroyed the hardware that eventually flew on an x-ray         8   oh, we're dropping this in a tank and leaving it there.
 9   astrophysics mission. By the way, the mission -- that           9   It's we're doing testing at the same time. So it's more
10   spacecraft failure was on Japanese spacecraft that had         10   than just storage.
11   another kind of failure. But so they lost it anyway.           11    Q. Do you want to amend the sentence in your
12   But that insert, those -- that cooler was worth -- to          12   report to cover more than storage?
13   rebuild it would have been multiple millions -- multiple       13    A. I don't know if storage and testing is relevant
14   million dollars. I don't know exactly how much. But            14   to this case. I mean, you know, because there's not
15   that kind of hardware, I consider that very valuable.          15   cryogenic testing in this particular case.
16   Maybe that's not very valuable to some people, but to me       16    Q. So you're saying only storage is relevant?
17   that was very valuable.                                        17    A. To this particular case.
18    Q. Was it the dewar that was valuable to you or               18    Q. Okay. So is there any other extremely valuable
19   the materials in that dewar?                                   19   material that you've had firsthand experience in
20    A. The materials. The, you know,                              20   overseeing the cryogenic storage of?
21   one-of-a-kind-in-the-world cooler for space flight             21    A. Let me think. The most valuable ones are the
22   mission. It cooled an x-ray detector for --                    22   James Webb and the x-ray mission hardware.
23    Q. So what were the materials that were extremely             23         But as I said before, there are valuable things
24   valuable in that dewar?                                        24   here at the University. They're not at the same level.
25    A. Superconducting magnets, paramagnetic                      25   You know, we're talking tens of thousands of dollars,


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 1   materials. Just the construction in the development of          1   not millions of dollars. So it's not the same.
 2   that was, you know, years, decades in development at            2    Q. Do you have any firsthand experience overseeing
 3   NASA.                                                           3   the cryogenic storage of human tissue?
 4    Q. Is there any other extremely valuable material              4    A. I think I answered this in the last deposition.
 5   that you have firsthand experience in overseeing the            5   No, I don't.
 6   cryogenic storage of?                                           6    Q. Do you think embryologists have experience
 7    A. Well, I wouldn't -- I wouldn't -- once again,               7   working with cryogenic storage of human tissue?
 8   I'm not saying cryogenic storage. But I'm saying                8    A. Yes. Hope so.
 9   cryogenic -- you know, so it was cooled down and tested.        9    Q. Do you think embryologists have experience
10   If there was some failure in the middle of the test, it        10   working with extremely valuable materials?
11   could have destroyed it. There were components for the         11    A. Yes.
12   James Webb space telescope testing.                            12    Q. Do you consider yourself an ordinary user of
13    Q. To clarify, though, you are saying -- I'm                  13   cryogenic tanks like the MVE 808?
14   reading from your report at the top of page 5 where you        14    A. That's a tough question because I'm sitting
15   write "I have firsthand experience in overseeing the           15   here as a cryogenics expert. So of course I'm not an
16   cryogenic storage of extremely valuable material...,"          16   ordinary user.
17   etcetera.                                                      17    Q. Have you ever operated a cryogenic tank without
18         So my question is I'm trying to find out from            18   a controller?
19   you what extremely valuable material is it that you have       19    A. Yes. In cases where I was just doing some
20   had firsthand experience in overseeing the cryogenic           20   short-term testing and the material would tolerate
21   storage of? So so far you've identified superconducting        21   warming up. For the cases where we were talking about a
22   magnets and another related materials. You just                22   while ago where it's more expensive material, there is a
23   identified components for the James Webb telescope             23   controller.
24   testing.                                                       24        THE REPORTER: Amy, can you pause for just one
25         Are there any other extremely valuable                   25   minute? I don't need to go off the record, I just need


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 1   to plug something in real quick. Thank you. Thank you.          1   They know how important it is. But it's something they
 2         (Discussion off the record.)                              2   use, not something they're expert in. So that's my
 3         MR. DUFFY: We're a little over an hour now.               3   definition of ordinary user.
 4         THE REPORTER: Sure. Just two minutes?                     4    Q. Is your definition of "their ordinary users"
 5         MR. DUFFY: Yeah.                                          5   everyone who utilizes cryogenic tanks?
 6         THE VIDEOGRAPHER: Off the record at 11:35 a.m.            6    A. I don't know if it's everyone who uses -- in
 7   Pacific Standard Time.                                          7   this particular context, I don't know if it's everybody
 8         (Whereupon a break was taken from 11:35 to                8   who uses cryogenic tanks. Some people use cryogenic
 9          11:46.)                                                  9   tanks to, you know, carry liquid nitrogen from one place
10         THE VIDEOGRAPHER: We are now going back on the           10   to another and fill a cold trap or cool down a device
11   record. The time is 11:46 a.m. Pacific Standard Time.          11   that they use. They may have a cold station on an SEM
12    Q. BY MS. ZEMAN: Dr. Miller, how would systematic             12   or something like that. There they use cryogenic
13   checks and procedures ensure continuous and                    13   fluids, you know, for a particular use; but they're not
14   uninterrupted function of a cryogenic tank?                    14   keeping some material at a cryogenic temperature, you
15    A. Could you repeat the question? I'm sorry.                  15   know, for a long time.
16    Q. Sure. How would systematic checks and                      16         So I'm thinking of the person who's utilizing
17   procedures ensure continuous and uninterrupted function        17   cryogenics -- not necessarily a cryogenic expert, but
18   of a cryogenic tank?                                           18   utilizing cryogenic environment for their testing, for
19    A. If you maintain the regular checks and regular             19   their storage, whatever it is. And they understand
20   -- of the tank, you'll know what's going on with it.           20   cryogenic tanks and their use and what they're used for
21   And if there are any problems, you can get them -- they        21   and how they -- how they're important to the function of
22   could be dealt with and serviced.                              22   their particular task.
23    Q. So they won't necessarily prevent a tank from              23         So I don't just mean anybody who would pick up
24   malfunctioning, but they would allow the end user to           24   a tank of liquid nitrogen and carry it over to the cold
25   address the malfunction; is that correct?                      25   trap, you know, and pour it in for their pumping system.


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 1    A. Yes. The tank could be -- you know, if there                1   That's a little different from someone who's tasked
 2   was an alarm that wasn't working properly, if it's              2   with, you know, doing their work in a cryogenic
 3   regularly checked it could be corrected and prevent, you        3   environment and have some material.
 4   know -- prevent there not being, you know, a control or         4    Q. How do you know that ordinary users view
 5   alarm or systems working.                                       5   cryogenic tanks as requiring systematic checks and
 6    Q. If you could look at the last sentence on page              6   procedures to ensure continuous and uninterrupted
 7   4 of your December 4th report. And that sentence then           7   function?
 8   runs onto and ends at the top of page 5. And once               8    A. Like I said, I've worked in an environment
 9   you've looked at that sentence, could you tell me who           9   where there were users of cryogenics, people who
10   you mean by the term "their ordinary users"?                   10   characterize materials, did optics tests to cryogenic
11    A. People who work with cryogenic systems. You                11   temperatures, but were not cryogenic engineers. They
12   know, in the -- in the world I worked in, not everybody        12   were ordinary users of cryogenic technology tanks,
13   at NASA who uses cryogenic systems is a cryogenics             13   vessels to carry out their tasks. But they certainly
14   expert. They were people that I worked with who are            14   understood.
15   experts in other kinds of areas, optics experts,               15        That they may not have known how to revac a
16   materials experts. And they used cryogenic systems in          16   system. They may not have known, you know, how to
17   their -- in their work. And so I would call them               17   design welds or how to build a tank or put out a
18   ordinary users of cryogenics systems.                          18   specification for a tank, but they did understand that
19        They're not, you know, people who design                  19   they needed to keep their material cold and that they
20   cryogenic systems. They're not people who build them.          20   needed to check on it regularly and to have monitoring
21   They're not designing cryogenic systems. But it's part         21   for their tanks because they understood the value of
22   of the work that they do, and they utilize cryogenic           22   what was in there.
23   tanks every day in their -- in their -- in the work            23    Q. Does measuring the liquid nitrogen in a tank
24   they're doing. So they would be ordinary users because         24   daily constitute a systematic check?
25   they're not -- they're involved in using cryogenics.           25    A. It is systematic in that if it's implemented


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 1   properly, it's done daily. Is it sufficient, though, is         1   someone to do that.
 2   the question. If it's just measuring the level, it              2    Q. Does Chart tell its customers or end users that
 3   doesn't --                                                      3   they must use a level control device or remote alarm
 4    Q. That wasn't my question. That wasn't my                     4   with their tanks?
 5   question.                                                       5    A. I don't think so. They leave that -- the end
 6    A. Measuring the level in a tank once per year is              6   user has to decide how valuable the material is in the
 7   systematic because it's done on a regular interval. But         7   tank and how -- to what extent and what level they need
 8   it's not sufficient.                                            8   to have monitoring in backup forms. These tanks are
 9    Q. Does topping off the liquid nitrogen in a tank              9   used for a wide range of things, not just....
10   daily constitute a systematic check?                           10    Q. On page 5 of your December 4th report you refer
11    A. That depends on what's meant by topping off.               11   to PFC's actions and inactions being extraordinarily
12   If it's -- a systematic check would mean there's a             12   reckless under the circumstances. What circumstances
13   measurement. So you would have to imply that in the            13   are you referring to?
14   topping off there's a -- just coming by and pushing a          14    A. The circumstances that they're storing
15   button and trying to top off the tank is not a                 15   something valuable.
16   systematic check. That's a -- you could systematically         16    Q. That material is human tissue; correct?
17   come by each day and push a button to top off a tank,          17    A. Yes.
18   and that wouldn't necessarily be a check because there's       18    Q. Did you ask anyone who regularly uses cryogenic
19   not a measurement involved. So I would say no, topping         19   tanks to store human tissue if Tank 4 fell short of
20   off -- you'd have to measure too.                              20   their safety expectations?
21    Q. Does topping off the liquid nitrogen in a tank             21    A. I didn't ask anyone who stores tissue. But I
22   daily constitute a systematic procedure?                       22   think that that tissue is at least as valuable as the
23    A. It's a systematic procedure if it's implemented            23   materials that other people who I've worked with have
24   and it's carried out.                                          24   stored, and they expected to have alarm systems and
25    Q. Is it your opinion that the use of level                   25   controllers on their systems.


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 1   control devices and remote alarms is required when using        1    Q. What are safety expectations?
 2   cryogenic tanks?                                                2    A. The expectation that the material you have in a
 3    A. Requiring -- required would carry with it the               3   cryogenic environment will maintain integrity.
 4   implication that somebody's requiring it like a                 4    Q. Does that refer to safety expectations for the
 5   governing body. And so is it required? It's certainly           5   materials stored in a tank?
 6   prudent, and it's certainly advisable, and it really            6    A. Yes, for the safety of the material in the
 7   depends on how much you value what's in the tank. If            7   tank. So procedures in place and monitoring in place to
 8   you -- so I'm not sure "require" is the right word.             8   meet those expectations.
 9        It's, you know, if you're willing to take the              9    Q. On page 5 of your report you refer to "Tank 4
10   risk of losing what's in the tank, then -- there's no          10   did not fall short of the safety expectations...,"
11   governing body in this situation that comes in and says        11   etcetera. As you use safety expectations in that
12   "You have to. You're required to have this."                   12   sentence of your report, how is it defined?
13        There are -- you know, if you look at boiler              13    A. Tank 4 was fully capable of maintaining
14   codes, there are, you know, safety valve requirements.         14   cryogenic temperature for the samples that were in place
15   Low level water -- low level cutoffs alarms and                15   as long as it was filled -- continued to be filled on a
16   secondary backup cutoffs. Those are requirements               16   regular basis with the liquid cryogen, with LN2. And so
17   because they're required by the ASME boiler code and           17   in that sense it fulfilled the safety expectations.
18   implemented by the National Board of Boiler Inspectors.        18         It was the procedures and the lack of attention
19   In this case there is no such governing body. So it            19   to the tank that led to this, not -- not the tank itself
20   really is how much risk do you want to assume.                 20   or its performance.
21    Q. Does Chart require that its tanks be used with             21    Q. You believe Tank 4 had a tiny leak prior to the
22   level control devices and remote alarms?                       22   March 4th failure; correct?
23    A. I don't know how Chart would be able to                    23    A. I think it had a slow leak over possibly
24   require. As I said before, there's no governing body           24   several years, which is not unusual for a tank. And the
25   that requires this. I don't know how they would require        25   getter managed that leak in a way that allowed the tank


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 1   to continue to perform its function, maintain insulation        1   particular material. They're synthetic zeolites.
 2   integrity. And only when the tank liquid nitrogen level         2        And this paper Yang and Burris is a synthetic
 3   went to zero did the vacuum level inside the tank rise.         3   zeolite. It is by a different manufacturer, but there's
 4   And the implosion happened a day and a half later.              4   not -- data at cryogenic temperatures is not done at 300
 5        So yeah, the tank was capable of and did                   5   psi for this material. It's -- there is -- there is
 6   maintain the safety of the tissue in there as long as it        6   data in the paper for 300 psi, but it's not for the
 7   was filled. But if the tank is not filled, it cannot            7   cryogenic temperatures. I mean --
 8   maintain cryogenic temperatures.                                8    Q. Wasn't that study done specifically to obtain
 9        MS. ZEMAN: I would like to enter your rebuttal             9   data covering higher pressures and temperatures?
10   report dated December 11th as Plaintiffs' Exhibit 441.         10    A. Absolutely. Because a lot of -- some uses of
11        Philip, could you circulate that, please.                 11   this material are for pressure swing adsorption, like if
12        THE VIDEOGRAPHER: Absolutely. Just bear with              12   you want to separate one species from another. There's
13   me here.                                                       13   some cases where you can use this for nitrogen oxygen
14        (Plaintiffs' Exhibit 441 marked for                       14   separation. When....
15         identification.)                                         15        THE REPORTER: You're cutting -- you're cutting
16        THE VIDEOGRAPHER: Okay. It's now loaded in                16   out just a little bit. There's some cases where you can
17   the chat.                                                      17   use this --
18    Q. BY MS. ZEMAN: Dr. Miller, if you could take a              18        THE WITNESS: Okay. I'll slow down.
19   look at that exhibit and then let me know if you               19        MR. DUFFY: No. I think it's actually just
20   recognize it.                                                  20   your connection.
21    A. Yeah, this is my report dated December 11th.               21        THE REPORTER: It's your -- it's your
22    Q. In the second paragraph on page 5 of your                  22   connection.
23   December 11 report you refer to a paper. Is that paper         23        MR. DUFFY: It's just starting to get a little
24   the Yang and Burris paper titled "Nitrogen adsorption          24   under water.
25   isotherms for zeolite and activated carbon"?                   25        THE REPORTER: Right. Right.


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 1    A. Second paragraph. Which page?                               1         THE WITNESS: I'm on an Ethernet, but okay.
 2    Q. Page 5.                                                     2         So these materials are also used to do pressure
 3    A. Oh, okay. Second paragraph of the report.                   3   swing adsorption which is where you raise the pressure
 4   Okay. Yes.                                                      4   and one species preferentially adsorbs on the material.
 5    Q. That is the Yang and Burris paper that you're               5   You then pump out, and then you lower the pressure. And
 6   referring to in that paragraph?                                 6   you basically can separate one species from another that
 7    A. Yes.                                                        7   way. So one gets adsorbed, you can pump out the other
 8    Q. What do you mean when you write that "...the                8   species, and then you get a concentration of that
 9   paper included data for material at high pressure but           9   species.
10   the data from the paper used for" your "analysis was           10         So yes, they were doing measurements for those
11   from low temperature and" low "pressure experiments..."?       11   applications, but they also made measurements at low
12    A. Yeah. So they -- there's data in the paper for             12   temperature. And I think one of the reasons is they
13   78.9 kelvin approximately. That data is not at 300 psi.        13   want to look at what the absolute capacity is at low
14   If you -- there's a nondimensional graph in there. If          14   temperature for each of these binding sites. You know,
15   you take the data and you take it back to dimensional          15   how many -- how many molecules can you get into this
16   form, the data is not from 300 psi. You don't do               16   material basically. How many N2 molecules can you get
17   adsorption data for nitrogen on zeolites.                      17   into the material in a particular set of conditions.
18        And by the way, Siliporite is a brand name for            18         So yes, at a cursory glance the paper is for
19   a zeolite made by, comma, trying to remember the name,         19   300 psi. But when you dig into the paper, there's data
20   that is -- the reason in the last deposition I didn't          20   there for low temperature. And it's -- it was useful, I
21   know what Siliporite is, in the cryogenics world it's          21   thought, because it had a -- it was -- there's not a lot
22   marketed as Cryo-Sieve. And then in the gas and oil            22   of data out there on these type of synthetic zeolites at
23   industry it's marketed under the brand name registered         23   low temperature because they are often used for other
24   trade name Siliporite. So there's a -- they're the same        24   purposes.
25   material. They're a class of materials. It's not a             25         Now, there's a difference of opinion here. Dr.


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 1   Kasbekar thinks you can't use one brand for another, you       1   divided by T. And so because you know the temperature
 2   can't swap them out. I think it would be 10 percent.           2   is 78.92, you can back out what the pressure is. And
 3   I -- maybe even better than that. But that's okay. I           3   all these points are at low pressure. There's nothing
 4   made a measurement to confirm that the tank -- the             4   at high pressure for the 78.92.
 5   getter will, in fact, hold as much gas as I thought it         5    Q. Okay.
 6   would.                                                         6    A. That calculate what the pressure is. It's low
 7         So yeah, if you read the paper carefully, if             7   pressure. It's not -- it's not at high pressure.
 8   you go in and take had the data that's on the graph,           8    Q. And is that data from Figure 5 the only data
 9   take it from nondimensional form and put it back into          9   you used from this paper?
10   dimensional form, you'll see that it is at low pressure.      10    A. Yes. I think so.
11    Q. BY MS. ZEMAN: There is some data in the paper             11    Q. Does this paper discuss desorption?
12   at low pressure. But it's more than a cursory glance;         12    A. Does it discuss what?
13   correct? I mean, the paper was done because high              13    Q. Desorption.
14   pressure adsorption data for a broad temperature range        14    A. Desorption. No, I don't think so. It's --
15   are required to perform a quantitative system analysis;       15   they're adsorption isotherms is what. Why....
16   correct?                                                      16    Q. Is it your opinion that the Cryosiev material
17    A. Yes. But as a part of that analysis, they                 17   in the MVE 808 tanks releases 100 percent of the
18   did -- they did work at low temperatures.                     18   molecules it's absorbed at room temperature?
19    Q. Sure.                                                     19    A. It depends on the pressure that's in the tank.
20    A. So, you know, I was looking through papers for            20   It's probably about 5 percent that would stay in the --
21   data at this temperature. And this -- it was in there.        21   in the sieve possibly, about 5 percent. That won't make
22   You know, some other papers had no low temperature data,      22   any difference in whether there's enough gas in there to
23   low pressure data.                                            23   collapse the tank.
24    Q. Where in the Yang and Burris paper is the data            24    Q. And does this paper explain whether sieve would
25   for low temperature and pressure experiments?                 25   release 95 percent of the molecules at room temperature?


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 1    A. There's a graph.                                           1    A. It explains it, but.... This particular paper
 2         MS. ZEMAN: Philip, could you enter the Yang              2   does not have room temperature data. But it does have
 3   and Burris paper as Exhibit 442.                               3   some 273 K data. And what you can see is that at one
 4         THE VIDEOGRAPHER: Yes.                                   4   atmosphere the delta M over M for this material, it's
 5         (Plaintiffs' Exhibit 442 marked for                      5   .0064 grams per gram. Whereas the material would hold,
 6          identification.)                                        6   like, point one -- so it's in the third decimal place
 7         THE VIDEOGRAPHER: Okay.                                  7   the amount it will hold compared to -- what it will hold
 8    Q. BY MS. ZEMAN: Dr. Miller, if you could open up             8   at cryogenic temperature. And this is at 273, not at
 9   Exhibit 442 and let me know if that is the Yang and            9   293. So it will be even less than that. So it's like 6
10   Burris paper that you are referring to?                       10   percent. But if you go up to 290 kelvin, it's going to
11    A. Yes, it is. So go to Figure 5.                            11   be even less than that 6 percent.
12         MR. DUFFY: Franklin, would you just wait one            12    Q. Where is the data that you're referring to now?
13   second. I want to make sure I'm catching up to you            13   Is this Figure 5 or something else?
14   guys. Hold on. Figure 5?                                      14    A. No. This is on page 629. And this is not
15         THE WITNESS: Figure 5.                                  15   exactly the situation we have. I mean, it's.... So if
16         MR. DUFFY: Thanks.                                      16   you look at T equals 273 at the top right-hand corner,
17    Q. BY MS. ZEMAN: Okay. So Figure 5 of the Yang               17   you see these numbers are changing over to the third
18   and Burris paper, is that the data on low temperature         18   decimal place here at the modest pressures.
19   and pressure experiments?                                     19         You know, a lot of the data is for higher
20    A. Not all the data is. Just the upward turn                 20   pressure, that is correct. But at the low pressure you
21   triangles on the right-hand upper part of the graph. So       21   can see that it's over here at, you know, .0025 grams
22   all of the data from 78.92 kelvin are up at the top of        22   per gram, .0047. And, you know, at 73 it's going hold
23   that corner. And you can back out the pressure because        23   more than it would at 290-some kelvin.
24   you have T log P s over P at the bottom. And P s is           24    Q. Does the adsorption of nitrogen and Siliporite
25   given in here. It's this constant A minus 3.06.30             25   depend on pressure?


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 1    A. Sure it does. It's right here in the data
 2   right there. Only but not -- you've seen my rebuttal
 3   report. It doesn't depend much on temperature at 77
 4   kelvin at nitrogen temperature. But at a higher
 5   temperatures, yes, it does.
 6    Q. Is Cryosiev identical to molecular sieve type
 7   13X?
 8    A. I don't know that it's identical. It's
 9   similar. They're different manufacturers. One's Union
10   Carbide the other is, you know, Arkema. All of these
11   things fall under the classification of zeolites. But
12   there could be small differences.
13    Q. And could have different dimensions; correct?
14    A. They can have different dimensions, yes.
15    Q. Could they have different granular density?
16    A. They could. That's why I did the test. Just
17   to get rid of any --
18    Q. Do they have different micropore sizes?
19        MR. DUFFY: Do you want to finish the answer?
20   I'm sorry. Objection.
21        THE WITNESS: So that's why I did the test
22   because the two brands are going to be different and may
23   be different in some cases. They could be. You know,
24   they're -- these materials are kind of bound into
25   pellets. I don't think there's a significant as in


                                                           Page 79

 1   one's going to absorb twice as much as another one.
 2   It's not going to happen like that. There could be some
 3   small under 10 percent difference in performance maybe.
 4         But in order to put that to rest, I went ahead
 5   and put 168 and a half liters of nitrogen into a cold
 6   exemplar tank and saw what happened to the pressure and
 7   the thermal performance of the dewar because -- well,
 8   because I knew that this material works well as a
 9   getter. It would work because that's why -- that's why
10   Chart uses it because it's good at gettering nitrogen
11   molecules and oxygen also. So I think they might not be
12   identical.
13




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                                               12        MS. ZEMAN: I have no further questions.
                                               13        THE VIDEOGRAPHER: Okay. Any follow-up, Kevin
                                               14   or John?
                                               15        MR. DUFFY: Yeah, no. We're good. We have no
                                               16   questions. Thank you, Franklin.
                                               17        THE VIDEOGRAPHER: This marks the end of the
                                               18   remote deposition. We are going off the record at 12:30
                                               19   p.m. Pacific Standard Time. Sorry. 12:36 p.m. Pacific
                                               20   Standard Time. Thank you, Counsel.
                                               21        (Whereupon the proceedings were concluded at
                                               22        12:36 p.m.)
                                               23                ---oOo---
                                               24   //
                                               25   //


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 1               I have read the foregoing deposition            1 of the testimony given by the witness. (Fed. R. Civ. P.
 2   transcript and by signing hereafter, subject to             2 30(f)(1)).
 3   any changes I have made, approve same.                      3          Before completion of the deposition, review of
 4                                                               4 the transcript [XX] was [ ] was not requested. If
 5   Dated_____________________.                                 5 requested, any changes made by the deponent (and
 6                                                               6 provided to the reporter) during the period allowed, are
 7                                                               7 appended hereto. (Fed. R. Civ. P. 30(e)).
 8                         _______________________________       8
                                 (Signature of Deponent)
 9                                                               9 Dated: December 15, 2020
10                                                              10
11                                                              11                         ______________________________
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 1               DEPOSITION OFFICER'S CERTIFICATE                1                                 ERRATA SHEET
 2 STATE OF CALIFORNIA         )                                 2                            CHANGES IN TESTIMONY
                               ) ss.
 3 COUNTY OF CONTRA COSTA )                                      3
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 6             I, CHERREE P. PETERSON, hereby certify:           6      _______   ________   _________________    _____________
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12             I am authorized to administer oaths or           12      _______   ________   _________________    _____________
13 affirmations pursuant to California Code of Civil            13      _______   ________   _________________    _____________
14 Procedure, Section 2093(b) and prior to being examined,      14      _______   ________   _________________    _____________
15 the witness was first duly sworn by me. (Fed. R. Civ.        15      _______   ________   _________________    _____________
16 P. 28(a)(a)).                                                16      _______   ________   _________________    _____________
17           I am not a relative or employee or attorney or     17      _______   ________   _________________    _____________
18 counsel of any of the parties, nor am I a relative or        18      _______   ________   _________________    _____________
19 employee of such attorney or counsel, nor am I               19      _______   ________   _________________    _____________
20 financially interested in this action. (Fed. R. Civ. P.      20      _______   ________   _________________    _____________
21 28).                                                         21      _______   ________   _________________    _____________
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24 deposition and the foregoing transcript is a true record     24         _____________________________         ______________
25                                 / / /                        25                SIGNATURE OF WITNESS                    DATE


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